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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                    Southern District of __________
                                                 __________              Texas

                  United States of America                        )
                             v.                                   )
          Francisco Javier GALLEGOS-Alvarez
                                                                  )      Case No.
                                                                  )
                                                                  )
                                                                  )
                                                                  )
                          Defendant(s)


                                                CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     11/30/2018                in the county of                Webb            in the
     Southern          District of            Texas           , the defendant(s) violated:

            Code Section                                                    Offense Description
21 USC 963 & 952                               Knowingly and unlawfully import, attempt to import and conspire to import,
                                               from a place outside the United States, to wit; the United Mexican States, to a
                                               place in the United States, to wit; Laredo, Texas, a controlled substance
                                               listed under Schedule I, Title II, of the Controlled Substance Act, to wit; one
                                               thousand nine hundred and twenty three (1,923) kilograms of marijuana.




         This criminal complaint is based on these facts:
See Attachement "A"




         ✔ Continued on the attached sheet.
         u

                                                                                             /s/ Roberto Peralta Jr
                                                                                             Complainant’s signature

                                                                                Roberto Peralta Jr, HSI Task Force Officer
                                                                                              Printed name and title

Sworn to before me and signed in my presence.


Date:             12/03/2018
                                                                                                Judge’s signature

City and state:                          Laredo, Texas                          Diana Song Quiroga, US Magistrate Judge
                                                                                              Printed name and title
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                                          Attachment A


I, Roberto Peralta Jr, a Task Force Officer with Homeland Security Investigations, have
knowledge of the following facts:

           1. On November 30, 2018, Customs and Border Protection (CBP) received
              information indicating that a tractor-trailer driven by Francisco Javier
              GALLEGOS-Alvarez was headed to the World Trade Bridge and was suspected
              of being involved in illicit activity.

           2. On November 30, 2018, GALLEGOS-Alvarez arrived at the World Trade Bridge
              Port of Entry in Laredo, Texas, driving the aforementioned tractor-trailer. The
              primary inspection Customs and Border Protection Officer (CBPO) obtained a
              negative declaration and referred GALLEGOS-Alvarez to secondary inspection.

           3. In secondary inspection, CBPOs were given a negative oral declaration for
              prohibited items. An X-ray inspection of the vehicle revealed anomalies within
              the trailer. A canine inspection of the vehicle resulted in a positive alert for the
              presence of narcotics odor within the trailer. Additionally, CBPOs noticed
              tampering to trailer’s rear doors’ seal latch.

           4. Upon inspection of the trailer, CBPOs discovered 160 black cellophane wrapped
              bundles containing approximately 1,923.00 kilograms of a green leafy substance
              that field tested positive for the properties of marijuana.

           5. On November 30, 2018, Homeland Security Investigations (HSI) special agents
              and High Intensity Drug Trafficking Area (HIDTA) Task Force Officers (TFO)
              responded to the aforementioned seizure. Agents and TFOs advised GALLEGOS-
              Alvarez of his Miranda Rights in the Spanish language. GALLEGOS-Alvarez
              signed a waiver of rights form and agreed to make a statement without the
              presence of an attorney.

           6. During the interview, GALLEGOS-Alvarez stated to HSI agents and TFOs that
              he picked up the tractor-trailer from a yard located in Nuevo Laredo, Tamaulipas,
              Mexico and did not make any unauthorized deviations while in route to the World
              Trade Bridge in Laredo, Texas. GALLEGOS-Alvarez was questioned on several
              occasions by HSI agents and TFOs, if he had made any stops before arriving to
              the World Trade Bridge. GALLEGOS-Alvarez again denied deviating from his
              route or stopping at any location before arriving to the World Trade Bridge.

           7. Investigative research conducted by HSI agents and TFOs discovered that
              GALLEGOS-Alvarez had deviated from the truck yard’s regular route of travel to
              the World Trade Bridge; and made a stop at an unknown location in which he
              remained for a significant amount of time before continuing his travel to the
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      World Trade Bridge, contradicting the statements he had made to HSI agents and
      TFOs.

   8. GALLEGOS-Alvarez was arrested and transported to Webb County Jail.
